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                                                    EXHIBIT 1




                           EXHIBIT 1
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                                          MARQUIS AURBACH
                                             COFFING
                                                  ATTORNEYS AT LAW

                                               10001 PARK RUN DRIVE
                                             LAS VEGAS. NEVADA 89145
                                                Telephone 702-382-0711
                                                   Fax 702-382-5816




Interior Electric NV, Inc.                                               Invoice 362009 - 372857
                                                                               December 23, 2020



ID: 14814-001 - CSM
Re:TWC Construction



For Services Rendered Through December 23, 2020




            Current Fees
            Current Disbursements
            Total Current Charges
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Interior Electric NV, Inc.                                                               December 23, 2020
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Date     Atty    De scription                                                           Hours      Amount




01/23/20 CFC     Review and assess email from Laurie Schiff regarding response to         0.40       100.00
                 subpoena; email exchange with client regarding same; research status
                 of service of subpoena on Melinda Beverly.
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Interior Electric NV, Inc.                                                                December 23, 2020
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Date     Atty    De scription                                                            Hours      Amount




02/05/20 CMJ     Check for response to subpoena by Melinda Beverly; draft email to Ms.     0.50       125.00
                 Beverly regarding failure to respond.
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Interior Electric NV, Inc.                                                                December 23, 2020
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Date     Atty    De scription                                                            Hours      Amount




02/05/20 CSM     Analysis and strategy regarding                                           0.50       125.00
                 subpoena documents from Melinda Beverly, and




02/05/20 CFC     Email exchanges with client regarding status and issues relative to       0.80       200.00
                 Melinda Beverly's subpoena response; coordinate with staff and court
                 reporter's office regarding same; coordinate with CMJ on same; review
                 and assess email exchanges with Melinda Beverly regarding same.




02/06/20 CMJ     Exchange emails with Melinda Beverly regarding subpoena response.         0.10        25.00




02/06/20 CFC     Review and assess email and subpoena response from Melinda                0.60       150.00
                 Beverly; email to client regarding and forwarding same.
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Interior Electric NV, Inc.                                                              December 23, 2020
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Date     Atty    De scription                                                          Hours      Amount




04/30/20 CSM     Assess, analyze and review email and attached documents from client     0.40       100.00
                 regarding communications between Ryba and Melinda.




04/30/20 CFC     Review and assess email from client regarding issues and options        0.20        50.00
                 relative to non-production from requests to Ryba and subpoena to
                 Melinda Beverly.
05/01/20 CSM     Analysis of documents regarding Melinda and Ryba's communications       0.30        75.00
                 for subpoena.
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Interior Electric NV, Inc.                                                                 December 23, 2020
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Date     Atty    De scription                                                             Hours      Amount




05/13/20 CFC     Review and assess emails from client regarding subpoena production         0.20        50.00
                 issues relative to Melinda Beverly, status of case, and future actions
                 items.
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Interior Electric NV, Inc.                                                                  December 23, 2020
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Date     Atty    De scription                                                              Hours      Amount




06/05/20 CMJ     Review file and various communications regarding communications             1.20       300.00
                 between Melinda Beverly and TWC; review subpoena to Melinda
                 Beverly and response to same and strategize regarding additional steps;
                 send email to Melinda Beverly regarding evidently missing
                 communications.



06/05/20 CFC     Review, assess, and evaluate issues and evidence relative to Melinda        1.40       350.00
                 Beverly's non-production of documents responsive to subpoena;
                 coordinate with CMJ relative to same and next steps; review and assess
                 email exchanges with Melinda Beverly and her counsel regarding same;
                 email exchanges with client regarding same.




06/07/20 CFC     Review and assess emails from client regarding Melinda Beverly non-         0.20        50.00
                 production and documents supporting same; review and assess same.
06/08/20 CMJ     Review correspondence and documents received from client regarding          1.20       300.00
                 Melinda Beverly documents and text messages; strategize with Mr.
                 Clement and review old correspondence in file regarding same;
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Interior Electric NV, Inc.                                                                   December 23, 2020
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Date     Atty    De scription                                                               Hours      Amount
                 telephone conference with client regarding same; exchange emails with
                 Mr. Shelton regarding same.




06/08/20 CSM     Assess, analyze and review comments and documents from counsel               0.20        50.00
                 concerning subpoena documents and strategize with counsel regarding
                 contact with Melinda's attorney versus sending a new subpoena to save
                 costs.
06/08/20 CFC     Review, assess, and evaluate issues, positions, and evidence relative to     0.90       225.00
                 Melinda Beverly not producing all documents responsive to subpoena;
                 coordinate with CMJ on same.




06/09/20 CMJ     Assess, analyze and review rulings from special master regarding             0.20        50.00
                 motion to compel and motion for attorney fees; legal research regarding
                 counsel for Melinda Beverly and contact information for same.
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                                   MARQUIS AURBACH COFFING P.C.

Interior Electric NV, Inc.                                                                   December 23, 2020
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Date     Atty De scription                                                                 Hours       Amount
06/10/20 JMM Receipt and review email from client regarding Melinda texts, and               0.20        50.00
              assess, analyze, and briefly review attachment to same; receipt and
              review subsequent email exchange regarding same.



06/10/20 CMJ     Attempt phone calls and exchange emails with Melinda Beverly's              0.40        100.00
                 possible counsel, Ralph Shelton.
06/10/20 CFC     Review and assess email exchanges with client regarding issues relative     0.50        125.00
                 to communications with Melinda Beverly regarding subpoena
                 production; coordinate with CMJ on same.
06/11/20 CMJ     Exchange emails with counsel for Melinda Beverly regarding subpoena.        0.10         25.00




06/11/20 CFC     Review and assess email exchange with Melinda Beverly's counsel             0.40        100.00
                 regarding issues relative to subpoena; coordinate with CMJ regarding
                 issues relative to same.




06/12/20 CMJ     Attempt telephone conferences with Melinda Beverly's counsel and            1.10        275.00
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Date     Atty    De scription                                                           Hours      Amount




06/12/20 CFC     Coordinate with CMJ regarding issues relative to communications with     0.50       125.00
                 Melinda's counsel and subpoenas; review and assess email from same
                 to same regarding same; email to client regarding same.




06/15/20 CMJ
                                       follow up with Melinda Beverly's attorney
                 regarding subpoena.




06/15/20 CFC     Review and assess email exchanges with Melinda Beverly's counsel         0.70       175.00
                 regarding issues relative to subpoena; email exchanges with client
                 regarding same.
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Interior Electric NV, Inc.                                                                  December 23, 2020
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Date     Atty    De scription                                                              Hours      Amount



06/18/20 CMJ     Prepare for and attend conference call with Melinda Beverly's attorney      1.10       275.00
                 regarding subpoenas and supplemental responses; exchange emails with
                 client regarding same.



06/18/20 CFC     Prepare for telephone call with Melinda Beverly's counsel regarding         0.70       175.00
                 subpoena related issues; review and assess subpoenas and prior email
                 exchanges relative to same.
06/18/20 CFC     Telephone call with Melinda Beverly's counsel regarding issues relative     1.40       350.00
                 to subpoenas and prior subpoena production; coordinate with CMJ on
                 same following same; email exchanges with client regarding outcome of
                 same and case related matters.
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Interior Electric NV, Inc.                                                              December 23, 2020
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Date     Atty    De scription                                                          Hours      Amount




06/29/20 CMJ     Attempt telephone conference with Ralph Shelton regarding Melinda       0.10        25.00
                 Beverly's subpoena responses, and leave voicemail; email counsel
                 regarding same.

06/29/20 CFC     Coordinate with CMJ regarding status of communications with Melinda     0.20        50.00
                 Beverly's counsel; review and assess email to same regarding same.
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Date     Atty    De scription                                                             Hours      Amount




07/06/20 CMJ     Attempt follow-up with Melinda Beverly's attorney and leave voicemail.     0.10        25.00




07/07/20 CMJ     Telephone conference with Mr. Shelton regarding Melinda Beverly's          0.10        25.00
                 subpoena response.
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Interior Electric NV, Inc.                                                               December 23, 2020
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Date     Atty    De scription                                                           Hours      Amount




07/16/20 CFC     Review and assess email exchange with Ralph Shelton regarding status     0.30        75.00
                 of supplemental production in response to subpoena; coordinate with
                 CMH on same; review and assess email exchange with client regarding
                 same.
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Date     Atty    De scription                                                          Hours      Amount




07/23/20 CMJ     Attempt phone calls to Melinda Beverly's counsel regarding subpoena     0.20        50.00
                 response.




07/31/20 CMJ     Attempt phone call to Ralph Shelton.                                    0.10        25.00
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Interior Electric NV, Inc.                                                                 December 23, 2020
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Date     Atty    De scription                                                             Hours      Amount




08/03/20 CMJ     Attempt phone call to Ralph Shelton and leave message with                 0.10        25.00
                 receptionist regarding Melinda Beverly subpoena records.




08/04/20 CMJ     Attempt phone call to Melinda Beverly's attorney; send follow-up email     0.10        25.00
                 regarding same.




08/07/20 CMJ     Telephone conference with Ralph Shelton regarding Melinda Beverly          0.20        50.00
                 subpoena documents.




08/13/20 CMJ     Discuss ongoing issues with Mr. Mounteer; send follow-up email to          0.40       100.00
                 Ralph Shelton regarding Melinda Beverly subpoena.
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08/13/20 CFC     Review and assess email to Ralph Shelton regarding follow up on     0.10        25.00
                 subpoena issues and production.
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09/01/20 CMJ
                                                                          exchange
                 emails with counsel for Melinda Beverly regarding subpoena response.




09/01/20 CFC     Review and assess email to Ralph Shelton regarding issues relative to     0.20        50.00
                 subpoenas, non-response and non-production in response to same, and
                 deadline for same; review and assess email from client regarding
                 Melinda's other former counsel.
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09/09/20 CMJ     Assess, analyze and review email from client; legal research regarding     1.00       250.00
                 enforcement of subpoena against Melinda Beverly; discuss same with
                 Mr. Mounteer.
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09/18/20 CMJ     Strategy discussion with Mr. Mounteer regarding subpoena             0.40       100.00
                 enforcement and amended complaint.




09/21/20 CMJ     Review client comments on outstanding issues; forward email to       0.20        50.00
                 Melinda Beverly's attorney to client; review legal research on
                 compelling subpoena response.




09/21/20 CSM     Follow up and direct associate on subpoena enforcement in CA and     0.50       125.00
                 new subpoena to Melinda's prior counsel.




09/23/20 CMJ     Discussions with Mr. Mounteer and Mr. Moser regarding amended        0.30        75.00
                 complaint and motion to enforce subpoena.
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Date     Atty    De scription                                                             Hours      Amount




09/24/20 JMM Verify and research local rules relating to enforcement of subpoena in a       1.70       425.00
             different federal district court for purposes of Melinda Beverly
             subpoena.
09/24/20 JMM Legal research in conjunction with beginning to draft supplements to           2.20       550.00
             motion to compel Melinda Beverly to produce documents in response to
             subpoena.
09/24/20 CMJ Organize chronology of interactions with Ralph Shelton for motion to           0.40       100.00
             compel Melinda Beverly subpoena response.




09/24/20 CSM Analysis and strategy enforcing CA subpoena, and further direct                0.20        50.00
             associate on same.
09/25/20 JMM Prepare stipulation required under local rules regarding discovery             1.80       450.00
             dispute; conduct legal research of Central District of California rules to
             supplement same.
09/25/20 CMJ Legal research regarding enforcement of subpoena to Melinda Beverly.           0.30        75.00
09/25/20 CSM Strategize with counsel regarding subpoena to Melinda's prior counsel          0.30        75.00
             and direct associate on same.
09/25/20 CSM Research local CA rules, review and supplement stipulation to Melinda's        0.60       150.00
             counsel pursuant to local rules, and strategize with counsel.




09/25/20 CFC Review, assess, and evaluate stipulation regarding discovery dispute;          1.20       300.00
             research local rules in California central district court; coordinate with
             JMM and CSM on same.
09/28/20 JMM Review and revision of stipulation for discovery motion.                       0.40       100.00
09/28/20 JMM Send email to client regarding stipulation and purpose of same.                0.10        25.00




09/28/20 CSM     Strategize with counsel approach toward Melinda's current counsel, and     0.30        75.00
                 strategize regarding motion to enforce.
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09/28/20 CFC Review, edit, and revise stipulation regarding discovery dispute on             0.80       200.00
             subpoenas; coordinate with JMM on issues relative to same; review and
             assess email to opposing counsel regarding same; review and assess
             email exchanges with client regarding same.
09/29/20 JMM Assess, analyze, and review email and attachments from client                   0.30        75.00
             providing context regarding dispute with and document requests to M.
             Beverly and her attorney; respond to same regarding same.




09/29/20 CFC     Review and assess email exchanges with client regarding issues relative     0.30        75.00
                 to subpoenas; coordinate with JMM on same and new subpoena.




09/30/20 JMM Continue supplementing notice of motion and motion to compel Melinda            1.70       425.00
             Beverly and Schiff & Shelton to respond to subpoenas; begin
             preparation of draft declarations for Mssrs. Clement and Jayne to
             support motion to compel.




10/01/20 JMM Review and revision of declarations in support of motion to compel;             0.90       225.00
             email to Mssrs. Clement and Jayne for review and supplementation, if
             necessary.
10/01/20 JMM Continue legal research and supplementation of motion to compel.                2.40       600.00



10/01/20 CMJ     Review and revise declaration regarding subpoena to Melinda Beverly.        0.20        50.00



10/01/20 CSM     Analysis and strategy regarding declarations to in support of motion to     0.30        75.00
                 compel, and direct associate on same.
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Interior Electric NV, Inc.                                                                  December 23, 2020
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10/02/20 CSM Analysis and strategy regarding fees on motion to compel.                      0.30        75.00
10/02/20 CSM Telephone conference with client regarding motion to compel and                0.40       100.00
             discovery strategy.
10/02/20 JMM Telephone conference with client regarding motion to compel and                0.40        100.00
             request for attorney fees

10/02/20 JMM Continue legal research in conjunction with supplementing motion to            3.30        825.00
             compel; further review of applicable local rules, telephone call and leave
             message for court clerk's office regarding mandatory chambers copies,
             and review and revision of motion to ensure compliance with applicable
             local rules.




10/02/20 JMM Further research regarding case caption for enforcement of out-of-             0.80        200.00
             district subpoena enforcement; review and revision of motion to compel
             accordingly.
10/02/20 JMM Review and revision of motion to compel to incorporate citations to            0.40        100.00
             declarations of CFC and CMJ throughout, and make final revisions to
             finalize same.




10/02/20 CSM     Analysis and strategy pleading and CA rules for motion to compel.          0.40        100.00
10/02/20 CFC     Review, edit, and revise motion to compel compliance with subpoena         1.40        350.00
                 and declaration in support of same; coordinate with JMM and CMJ on
                 same.




10/05/20 JMM Receipt and review voice message from C.D. Cal. court clerk regarding          0.10         25.00
             provision of hard copies to chambers upon filing of motion.
10/05/20 JMM Draft detailed proposed order granting motion to compel; preparation of        1.30        325.00
             notice of interested parties to be filed with motion and related
             documents.
10/05/20 CSM Analysis and strategy regarding motion to compel.                              0.30         75.00
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10/06/20 JMM Coordinate with paralegal regarding tables of contents and authorities          1.60       400.00
             for motion to compel; gather and organize exhibits to same; coordinate
             with staff for identification of exhibits, completion of civil cover sheet,
             filing of all necessary documents, and initiation of new miscellaneous
             action.
10/06/20 LAD Make technical revisions to motion to compel; mark all cited authorities        2.10       367.50
             and prepare table of contents and table of authorities for motion to
             compel; finalize same.
10/06/20 LAD Prepare exhibits to motion to compel and bates stamp pursuant to local          0.80       140.00
             rules.
10/06/20 LAD Revise declaration of Collin Jayne, Esq. and Chad Clement, Esq. and             0.80       140.00
             finalize same.
10/06/20 CSM Follow up and strategy regarding services of motion pending time period         0.30        75.00
             running on proposed stipulation on subpoenaed documents.
10/06/20 CSM Review and strategy regrading proposed order on motion to compel                0.30        75.00
             responses, and direct associate on same.
10/06/20 CFC Review, assess, and evaluate opposing counsel's and Melinda Beverly's           0.70       175.00
             non-response to stipulation to motion to compel compliance with
             subpoenas; coordinate with JMM and CSM on same; coordinate with
             JMM and staff on issues relative to filing of motion to compel; email
             exchanges with client regarding same.
10/06/20 CFC Review, edit, and finalize motion to compel, notice of same, declarations,      1.20       300.00
             exhibits, and proposed order; coordinate with JMM and staff on same
             and local rule requirements for filing.
10/07/20 JMM Exchange emails with client regarding questions about declaration in            0.20        50.00
             support of motion to compel.




10/07/20 CFC     Email to client regarding filing of motion to enforce subpoenas; email      0.40       100.00
                 exchanges with same regarding issues relative to same.
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10/08/20 JMM Receipt and review notice of electronic filing and corresponding text             0.40       100.00
             docket entry regarding hearing on motion to compel compliance with
             subpoena; legal research of C.D. Cal. requirements regarding notice
             and develop and implement plan of action relative to same.
10/08/20 JMM Receive telephone call from Ralph Shelton regarding motion and                    0.70       175.00
             subpoenas and anticipated response to same; assess, analyze, and
             review email chain provided by Mr. Shelton; exchange subsequent
             emails with client regarding same.
1




10/08/20 CSM     Assess, analyze and review notice of assignment to magistrate judge,          0.30        75.00
                 research magistrate, and assess, analyze and review notice of hearing
                 and issues with same.
10/08/20 CSM     Assess, analyze and review various documents received from Mr.                0.50       125.00
                 Shelton and strategize regarding additional documents that have still not
                 been produced and strategy for putting pressure to acquire same.




10/08/20 CFC     Review and assess assignment of judges; email to client regarding same.       0.20        50.00
10/08/20 CFC     Review and assess notice of hearing on motion to compel compliance            0.30        75.00
                 with subpoena; email exchange with client regarding same, scheduling
                 conflict on same, and next steps.
10/08/20 CFC     Review, assess, and evaluate issues relative to service of motion to          0.80       200.00
                 compel on Ralph Shelton's office and continuance of hearing due to
                 scheduling conflict; coordinate with JMM and staff regarding same.




10/08/20 CFC     Review and assess emails from Ralph Shelton forwarding prior email            0.80       200.00
                 exchanges between Matt Ryba and Melinda Beverly's counsel and
                 other documents in response to subpoena; review and assess same;
                 review and assess email exchanges with client regarding same and
                 communications with Ralph Shelton.



10/09/20 JMM Receipt and review second email from R. Shelton regarding subpoena                0.80       200.00
             responses, and assess, analyze, and review numerous documents and
             communications attached to same.
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10/09/20 CMJ     Assess, analyze and review documents received from Ralph Shelton           0.20        50.00
                 regarding Melinda Beverly.




10/12/20 JMM Review local rules for C.D. Cal. to assess and evaluate briefing               0.50        125.00
             deadlines for motion to compel in conjunction with developing plan of
             action relative to responding to R. Shelton about supplemental
             production of additional documents still known to exist and scheduling of
             hearing.




10/12/20 CFC     Review and assess email exchanges with client regarding NDA and            0.20         50.00
                 timeline of events relative to Ryba's disclosure of information to
                 Melinda; review and assess same.
10/12/20 CFC     Review and assess issues relative to rescheduling hearing on motion to     0.40        100.00
                 compel compliance with subpoena and communications with Melinda
                 Beverly's counsel regarding subpoena response; coordinate with JMM
                 on same.
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Interior Electric NV, Inc.                                                            December 23, 2020
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10/14/20 CFC     Coordinate with JMM on issues relative to new subpoena to Melinda     0.70       175.00
                 Bevery's former counsel and law firm; review and assess email
                 exchanges with client regarding same; email exchanges with same
                 regarding same and other case related issues.
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10/15/20 CFC     Review and assess proof of service of motion to enforce subpoena on      0.10        25.00
                 opposing counsel.




10/17/20 JMM Review notes, subpoenas, and prior communications in conjunction with        0.50       125.00
             sending follow-up email to R. Shelton regarding deficient production,
             anticipated supplement, and rescheduling of hearing date; forward same
             to client.



10/17/20 CFC     Review and assess email to opposing counsel regarding motion to          0.20        50.00
                 compel compliance with subpoena and prior communications and non-
                 production; review and assess email exchange with client regarding
                 same.




10/19/20 JMM Telephone call with Ralph Shelton regarding perceived deficiencies in        0.70       175.00
             subpoena responses and anticipated supplement to same; send follow-up
             email to client and team regarding same.
10/19/20 JMM Receipt and review voice message from R. Shelton regarding update on         0.30        75.00
             subpoena production; telephone call and leave message for same
             regarding same; subsequent telephone call with same regarding same.
10/19/20 JMM Review message regarding instruction from courtroom deputy regarding         1.00       250.00
             continuance of hearing date; review local rules to ensure compliance, in
             conjunction with preparing stipulation and proposed order for same;
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                 email Mr. Shelton regarding same.




10/19/20 CSM     Analysis and strategy regarding documents that are within Melinda's        0.30        75.00
                 possession regardless what law firm they are with.




10/19/20 CFC     Review, assess, and evaluate issues relative to subpoenas, production,     0.30        75.00
                 and communications with Ralph Shelton.



10/19/20 CFC     Review and assess email to Ralph Shelton regarding stipulation to          0.20        50.00
                 continue hearing on motion to compel; review and assess same and
                 proposed order.



10/20/20 JMM Receive message from return call from C.D. Cal. courtroom                      0.20        50.00
             administrator regarding anticipated stipulation and order to continue
             hearing; send follow-up email to R. Shelton regarding same.
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10/20/20 CFC     Review and assess joint stipulation and order to continue hearing on      0.20        50.00
                 motion to compel compliance with subpoena; review and assess email to
                 chambers regarding same and proposed order.




10/23/20 JMM Assess, analyze, and review email from R. Shelton regarding anticipated       0.20        50.00
             subpoena responses, forthcoming custodian of records affidavit, and
             discussions with Sullivan Law; strategize regarding necessary future
             action and upcoming hearing in light of same.




10/23/20 CSM     Analysis and strategy regarding additional communications from            0.20        50.00
                 Melinda's counsel concerning documents in Melissa's possession.
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10/23/20 CFC     Review and assess email exchanges with Ralph Shelton regarding           0.20        50.00
                 issues relative to subpoena production; coordinate with JMM on same.
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11/11/20 JMM Review California case docket to assess and evaluate status of filings     0.70       175.00
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                 relating to motion to compel; review local rules regarding failure to
                 oppose motions; prepare notice of non-opposition and strategize
                 regarding timing of filing same.




11/23/20 JMM Analysis and strategy regarding timing of filing notice of non-opposition     0.20        50.00
             and request for telephonic appearance; review and revision of same,
             and coordinate with staff to finalize and file notice, and to coordinate
             with courtroom deputy for telephonic appearance.
11/23/20 CSM Analysis and strategy regarding response to motion to compel in CA,           0.20        50.00
             and direct associate to file notice of non-opposition.
11/23/20 CFC Review and assess notice of non-opposition to motion to compel;               0.20        50.00
             coordinate with JMM on same.
11/24/20 JMM Receipt and review notice of electronic filing and court's corresponding      0.30        75.00
             docket text advising that motion to compel is off calendar and taken
             under submission; receipt and review email from Ralph Shelton received
             almost immediately after, and email client regarding both.
11/24/20 JMM Assess, analyze, and review multiple attachments to email from Ralph          0.40       100.00
             Shelton regarding subpoena responses; receipt and review subsequent
             voice message from Mr. Shelton regarding same.



11/24/20 CFC     Review and assess minute order regarding motion to compel and             0.30        75.00
                 upcoming hearing on same; review and assess email exchanges with
                 client regarding same, non-opposition, and recent communications with
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                 opposing counsel.



11/30/20 JMM Receipt and review voice message from Ralph Shelton; exchange                  0.30        75.00
             subsequent emails with same, and review documents provided; forward
             same to client for review and record.
11/30/20 CSM Assess, analyze and review responses from Melinda's counsel, and               0.30        75.00
             strategize and direct associate on responding to same.
11/30/20 CFC Review and assess email exchanges with opposing counsel regarding              0.40       100.00
             issues relative to subpoena, production, and motion to compel;
             coordinate with JMM on same; review and assess email exchanges
             with client regarding same.




12/02/20 CFC     Review, assess, and evaluate status and issues relative to subpoena;       0.30        75.00
                 coordinate with JMM on same; review and assess email to client
                 regarding same.




12/07/20 JMM Receipt and review notice of electronic filing, and assess, analyze, and       0.60       150.00
             review court's corresponding order granting client's motion to compel;
             strategize action to be taken in light of same; send follow-up emails to
             client regarding same.




12/07/20 CFC Review and assess order granting motion to compel compliance with              0.80       200.00
             subpoenas; coordinate with JMM regarding same and next steps on
             same; review and assess email exchange with client regarding same.
12/08/20 JMM Coordinate with staff for preparation and filing of certificate of service     0.20        50.00
             of court's minute order regarding motion to compel; subsequent receipt
             and review notice of electronic filing and corresponding certificate.
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12/23/20 JMM Legal research regarding any unique requirements for attorney's fee        0.30        75.00
             requests in the Central District of California in preparation to draft
             documents to recover fees for motion to compel Melinda Beverly and
             Ralph Shelton.
12/23/20 JMM Prepare detailed declaration in support of request for attorney fees       1.10       275.00
             relating to motion to compel.
12/23/20 JMM Review combined invoice from January 2019 through December 2019            4.00     1,000.00
             to identify entries relevant to subpoenas, and redact irrelevant and
             privileged content.
                                                             Total Fe e s

                                               Disburse me nts
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              Copies
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02/03/20      Check Issued; Attempted service to Melinda Beverly; Report to Court                  95.00
02/19/20      Check Issued; Attempted service to Schiff & Shelton; Report to Court                 95.00




                                                              Total Disburse me nts
